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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN JOSE DIVISION

Case No. _| ”- Che- 500 - BLF

United States of America, )
)
Plaintiff, ) STIPULATED ORDER EXCLUDING TIME
V. ) UNDER THE SPEEDY TRIAL ACT
) AND WAIVER UNDER FRCP 5.1
Defendant(s). )

For the reasons we by the parties on the Troe on_| | “S\ | | q , the court excludes time under the Speedy
Trial Act from __\ ]3\ ] q to_)t2]14 and finds that the ends of j justice served by the
continuance outweigh the best interest of the public and the defendant in a speedy trial. See 18 U.S.C. §
3161(h)(7)(A). The court makes this finding and bases this continuance on the following factor(s):

¥ Failure to grant a continuance would be likely to result in a miscarriage of justice.
See 18 U.S.C. § 3161(h)(7)(B)(i).

The case is so unusual or so complex, due to [check applicable reasons] the number of
defendants, the nature of the prosecution, or the existence of novel questions of fact
or law, that it is unreasonable to expect adequate preparation for pretrial proceedings or the trial
itself within the time limits established by this section. See 18 U.S.C. § 3161(h)(7)(B)(ii).

 

Failure to grant a continuance would deny the defendant reasonable time to obtain counsel,
taking into account the exercise of due diligence. See 18 U.S.C. § 3161(h)(7)(B)(iv).

Failure to grant a continuance would unreasonably deny the defendant continuity of counsel, given
counsel’s other scheduled case commitments, taking into account the exercise of due diligence.
See 18 U.S.C. § 3161(h)(7)(B)(iv).

x Failure to grant a continuance would unreasonably deny the defendant the reasonable time
necessary for effective preparation, taking into account the exercise of due diligence.
See 18 U.S.C. § 3161(h)(7)(B)(iv).

With the consent of the defendant, and taking into account the public interest in the prompt
disposition of criminal cases, the court sets the preliminary hearing to the date set forth in the first
paragraph and — based on the parties’ showing of good cause — finds good cause for extending
the time limits for a preliminary hearing under Federal Rule of Criminal Procedure 5.1 and for
extending the 30-day time period for an indictment under the Speedy Trial Act (based on the
exclusions set forth above). See Fed. R. Crim. P. 5.1; 18 U.S.C. § 3161(b).

IT IS SO ORDERED.

DATED: Doynary Bl Boe 4 dguis L OM hr:

Virginia K. DeMarchi
United States Magistrate Judge

STIPULATED: ME LUC, $l

‘Attorney for Defendant Agsistant United s Att

v. 11/01/2018
